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 5   Attorney for Defendant
     MARIA MARTHA LOPEZ
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                  IN THE UNITED STATES DISTRICT COURT
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               FOR THE EASTERN DISTRICT OF CALIFORNIA
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     UNITED STATES OF AMERICA,                          Case No.: 11-CR-00223 AWI
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                                  Plaintiff,            STIPULATION AND ORDER TO
14                                                      CONTINUE SENTENCING
                                                        HEARING
15   vs.
16   MARIA MARTHA LOPEZ
17
                                  Defendant,
18
19   TO: THE CLERK OF THE UNITED STATES DISTRICT COURT, HONORABLE:
20   ANTHONY W. ISHII AND KIRK SHERRIFF, ASSISTANT UNITED STATES ATTORNEY:
21          COMES NOW Defendant, MARIA MARTHA LOPEZ, by and through her attorney of
22   record, DAVID A. TORRES hereby request that the sentencing hearing date currently set for
23   Monday, February 19, 2013 be continued to February 25, 2013 at 10 a.m., or a date convenient to
24   court and counsel.
25          It is my understanding that AUSA, Kevin Rooney is out of the office this week; the
26   Assistant United States Attorney handling Mr. Rooney’s matters in his absence is AUSA, Kirk
27   Sherriff. I spoke to AUSA, Kirk Sherriff on February 14, 2013, and requested a one week
28   continuance to submit additional documentation related to the sentencing statement. Mr. Sherriff
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 1   indicated that he did not object to a one week continuance as long as the defense did not object to
 2   a government request to continue should it need additional need to respond.
 3          The defendant is willing to continue excluding time through the next court appearance in
 4   that the ends of justice in the exclusion outweigh defendant’s speedy trial rights.
 5          Based upon the foregoing, I respectfully request that this matter be continued to
 6   February 25, 2013.
 7
 8   Dated: February 14, 2013                              /s/ David A. Torres
                                                           DAVID A. TORRES
 9                                                         Attorney for Defendant
                                                           MARIA MARTHA LOPEZ
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     Dated: February 14, 2013                              /s/Kirk Sherriff
12                                                         KIRK SHERRIFF
                                                           Assistant U. S. Attorney
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 1                                                ORDER
 2          IT IS SO ORDERED. For the reasons set forth above, the continuance requested is
 3   granted for good cause. The court finds the end of justice outweigh the interests of the public and
 4   the defendant’s rights to a speedy trial. Therefore, time is excluded in the interest of justice
 5   pursuant to 18 U.S.C. §3161(h)(7)(A) and §3161 (h)(7)(B)(i) & (iv).
 6   IT IS SO ORDERED.
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     Dated:    February 15, 2013
 8   0m8i78                                                     SENIOR DISTRICT JUDGE
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